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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

SAVE LONG BEACH ISLAND, a nonprofit
corporation,                                               Case No. 22-cv-55 (DLF)
P.O. Box 579, Ship Bottom, NJ 08008; and
ROBERT STERN, Ph.D., an individual,                        Judge Dabney L. Friedrich
329 4th Street, Beach Haven, NJ 08008;

       Plaintiffs,

       v.

UNITED STATES DEPARTMENT OF THE
INTERIOR,
1849 C Street NW, Washington, DC 20240;
DEB HAALAND, Secretary of the Interior, acting
in her official capacity,
1849 C Street NW, Washington, DC 20240;
UNITED STATES BUREAU OF OCEAN
ENERGY MANAGEMENT,
1849 C Street NW, Washington, DC 20240; and

AMANDA LEFTONELIZABETH KLEIN,
Director of United States Bureau of Ocean Energy
Management, acting in her official capacity,
1849 C Street NW, Washington, DC 20240;


       Defendants.

                     [Proposed] First Amended/Supplemental Complaint
            For Declaratory & Injunctive Relief under the National Environmental
             Policy Act, Endangered Species Act, & Administrative Procedure Act

                     This is an action to reverse and set aside Nature of the Action

       The United States government, led by defendant Bureau of Ocean Energy Management’s

(BOEM’s) decision, which determined the final Wind Energy Areas in the New York Bight,
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because it is arbitrary, capricious, and otherwise not in accordance with the law.1 Specifically,

when selecting Wind Energy Areas within the New York Bight as part of the federal

government’s largeManagement (BOEM), has embarked on a comprehensive and aggressive

campaign to develop more than 20 industrial-scale offshore wind (OSW) energy program

forprojects along the Atlantic coast, Defendants failed to comply with the National

Environmental Policy Act (NEPA)2 and the Endangered Species Act (ESA).3

       1.      Defendants did not prepare a regional programmatic environmental impact

statement that would (1) comprehensively address the cumulative impacts of the five Wind

Energy Areas Defendants selected for the New York Bight and other connected Wind Energy

Areas, and (2) consider alternative levels of wind energy development in the selected Wind

Energy Areas and Wind Energy Area locations different from those that Defendants have

proposed. Instead, Defendants elected to forego any such analysis, and has indicated that it will

defer its NEPA review of wind energy development in the New York Bight until after wind

leases are issued and the leaseholders submit specific wind energy projects. As a result, BOEM

has not prepared, and will not prepare, any NEPA document that will adequately address the

cumulative impacts of wind energy development within the five New York Bight Wind Energy

Areas and other connected Wind Energy Areas, as required by NEPAMaine to North Carolina.

       2.      Further, Defendants’ decision to not prepare a programmatic environmental

impact statementJust days after his inauguration, President Biden confirmed his commitment to



1
  Attached as Exhibit 1, U.S. Bureau of Ocean Energy Management: New York Bight Area
Identification Memorandum Pursuant to 30 C.F.R. § 585.211(b) (Mar. 26, 2021), available at
https://www.boem.gov/sites/default/files/documents/renewable-
energy/Memorandum%20for%20Area%20ID%20in%20the%20NY%20Bight.pdf. Note that
Wind Energy Areas are not the same as wind lease areas.
2
  42 U.S.C. §§ 4321-4347.
3
  16 U.S.C. §§ 1531-1544.


                                                 2
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BOEM’s OSW program by issuing Executive Order 14008, dated January 27, 2021, and titled

“Tackling the Climate Crisis at Home and Abroad.” Section 207 of the Executive Order

expressly calls for a “doubling” of offshore wind energy production by 2030.

        3.          In March 2021, the Departments of Interior, Energy, and Commerce responded to

Executive Order 14008 by announcing a national goal to deploy 30 gigawatts of OSW by 2030.4

        4.          As of September 2022, there were 27 renewable energy lease areas in the Atlantic

Outer Continental Shelf (OCS).5 All or most of these OSW lease areas overlap habitat of the

federally-listed and highly endangered North Atlantic right whale (NARW).6

        5.          As discussed below, the Atlantic coast OSW projects that BOEM is processing

are part of a network of wind energy facilities that will operate synergistically to generate

electricity for consumers along the eastern seaboard. Correspondingly, the OSW projects also

work synergistically to create cumulative impacts on a host of environmental resources,

including federally-protected marine mammals such as the NARW.

        6.          The wind energy areas (WEAs) that BOEM has selected for OSW development

are located within and along the very migration corridors that NARW use to travel from calving

grounds in South Carolina to the zooplankton-rich foraging areas in New England Canada. In

short, BOEM’s industrial-scale OSW program for the Atlantic coast puts human development on

a collision course with the endangered NARW; and, historically, that situation has resulted in

tragedy for the whale.




4
    www.doi.gov/news/interior-joins-government-wide-effort-advance-offshore-wind
5
   Draft BOEM and NOAA Fisheries North Atlantic Right Whale and Offshore Wind Strategy,
October 2022, p. 3.
6
    Id., at p. 4.


                                                    3
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          2.7.   Despite evidence showing that the OSW projects will significantly affect marine

mammals and, in the case of the NARW, push the species further toward extinction, BOEM has

not prepared a programmatic Environmental Impact Statement (EIS) to analyze and disclose the

OWS program’s cumulative effects on these animals or any other natural resource. BOEMs’

decision to not prepare a programmatic EIS effectively forecloses any opportunity for the public

to comment upon, critique, and offer alternatives to the wind Energy Areaslease locations

selected by DefendantsBOEM or to the number and power rating of the wind turbines to be used.

In effect, BOEM and the other defendants have committed themselves to a particular course of

action and the use of a particular public ocean resource without first conducting a full and

adequate impact and alternatives analysis at the program level. This is a violation of NEPA.

          In addition, the New York Bight Wind Energy Areas, as well as related Wind Energy

Areas located immediately south of the New York Bight, lie within habitat used by various

marine animals that have been listed as “threatened” or “endangered” under the ESA.7 Among

these is the critically-imperiled North Atlantic right whale, whose total population has declined

sharply in the last decade and now stands at approximately 300 individuals. BOEM’s selection of

the New York Bight Wind Energy Areas, and the related Wind Energy Areas to the south, will

directly facilitate construction and operation of offshore wind arrays within the habitat areas and

migration corridors for North Atlantic right whale and other listed species, potentially affecting

and resulting in take of these species. Pursuant to Section 7 of the ESA, any federal agency

whose actions or decisions may affect a federally listed species must consult with the federal

wildlife agency—the U.S. Fish and Wildlife Service—that has jurisdiction over the species in




7
    16 U.S.C. § 1531, et seq.


                                                 4
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question.8 In this case, the affected species are marine animals and fall within the jurisdiction of

the National Marine Fisheries Service. BOEM, therefore, was required under Section 7 to consult

with the National Marine Fisheries Service prior to selecting the Wind Energy Areas challenged

here to determine if installation of wind arrays in these locations would affect listed species,

including the North Atlantic right whale. BOEM, however, failed to consult with the National

Marine Fisheries Service on this issue. Consequently, no biological assessment or biological

opinion has been prepared to analyze and disclose the potential effects of BOEM’s actions on

listed species. In failing to consult with the National Marine Fisheries Service, BOEM violated

the ESA.

         8.      In addition, BOEM has not initiated consultation with NMFS as required under

Section 7 of the Endangered Species Act to determine whether BOEM’s OSW program for the

Atlantic coast might jeopardize the NARW and/or impede its recovery. Nor has BOEM

consulted with NMFS to assess whether the OSW projects in a given WEA or region, when

viewed cumulatively, would jeopardize the NARW or any other listed species. As a result, no

programmatic Biological Opinion (BiOp) for the Atlantic OSW program – or any region within

it – has been prepared.

         9.      For its part, NMFS has issued, and continues to process, incidental take

authorizations (ITAs) under the Marine Mammal Protection Act (MMPA) for various activities

connected to the proposed OSW projects along the Atlantic Coast. These activities include

seabed characterization surveys that involve the use of high-intensity sound pulses; cable laying

along the seafloor; and pile-driving for wind turbine installation. As indicated in the ITAs

themselves, these activities “harass” marine mammals, including the NARW, resulting in take of



8
    16 U.S.C. § 1536(a); 50 C.F.R. § 402.14.


                                                  5
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the species. Worse, the evidence shows that the harassment permitted by the ITAs is cumulative

and has the potential to be inflicted repeatedly on the same cohort of right whales.

        10.    The purpose of this action is three-fold: First, it is intended to force BOEM to

prepare a programmatic EIS that comprehensively assesses the impacts of BOEM’s OSW energy

program along the Atlantic coast. The programmatic EIS should not only evaluate the cumulative

and synergistic impacts of all OSW projects currently being proposed for the eastern seaboard; it

must also identify and consider alternative locations for some or all of the OSW projects which

have the potential to adversely affect protected species, including the NARW. The alternatives

analysis must also address options regarding the size and power rating of the wind turbines.

Second, the action is intended to force BOEM to consult with NMFS under Section 7 of the

Endangered Species Act and, through that consultation, determine whether the Atlantic coast

OSW projects, when considered cumulatively, could jeopardize federally-listed species,

including the NARW. The consultation effort should result in preparation of a programmatic

Biological Opinion (BiOp). Third, the action is intended to enjoin BOEM from processing or

approving any additional OSW projects, or any activities connected to such projects (e.g., seabed

characterization surveys), until the required programmatic EIS and programmatic BiOp are

issued and adopted.

        11.    In failing to prepare a programmatic EIS for the Atlantic Coast OSW projects,

BOEM has violated the National Environmental Policy Act (NEPA).9 In failing to initiate

Section 7 consultation with NMFS over the cumulative impacts of the OSW projects on listed

species, BOEM also has violated the Endangered Species Act (ESA).10 For these reasons, BOEM




9
     42 U.S.C. §§ 4321-4347.
10
     16 U.S.C. §§ 1531-1544.


                                                 6
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has acted arbitrarily, capriciously, and not in accordance with law, resulting in a violation of the

Administrative Procedures Act (APA).11

                                 JURISDICTION AND VENUE

        3.12.   The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 (federal

questions), 28 U.S.C. § 1346 (United States as defendant), 28 U.S.C. § 2201 (declaratory

judgment), and 28 U.S.C. § 2202 (injunctive relief), and 5 U.S.C. §§ 701 through 706 (APA).

        1.      For all claims brought under the APA, Plaintiffs have exhausted all administrative

remedies available to them. Following BOEM’s selection of the New York Bight Wind Energy

Areas— a final agency action under NEPA and the APA—Plaintiff Save Long Beach Island sent

a letter to BOEM, dated July 22, 2021, asking BOEM to prepare the programmatic

environmental impact statement demanded in this complaint. BOEM failed to do so or even

acknowledge the request. Therefore, there was no administrative process under either NEPA or

the APA leading up to the federal action in question—the selection of the Wind Energy Areas.

For this same reason, there was no administrative process that resulted in the adoption of an

environmental impact statement.

        13.     For all claims brought under NEPA, the ESA, and the APA, Plaintiffs have

exhausted all administrative remedies available to them.

        4.14.   Venue is properly vested in this Court pursuant to 28 U.S.C. § 1391(e) because

Defendants are federal agencies and officials whose offices are located in Washington, D.C.

                                             PARTIES

        5.15.   Plaintiff, SAVE LONG BEACH ISLAND, is a 501(c)(3) non-profit corporation,

organized under the laws of New Jersey, established to protect the natural and human


11
     5 U.S.C. § 706(2)(A) and (E).


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resourcesPlaintiff SAVE LONG BEACH ISLAND (SLBI) is a 501(c)(3)non-profit corporation,

organized under the laws of New Jersey and created to guard human and natural resources that

characterize Long Beach Island and its coastal waters. SLBI members have a legally protected

interest in preserving the marine mammals that live off the New York and New Jersey coasts,

some of which, like the NARW, are critically endangered species. Members of SLBI have

observed NARW and other marine mammals, including humpback whales, off the coasts of New

York and New Jersey, and they have concrete plans to observe them in the future. The proposed

OSW projects, if constructed and operated in their currently-proposed locations, will harm

NARW and other protected marine mammals and/or cause them to leave the area. Should this

occur, SLBI members would lose further opportunities to observe and/or enjoy the natural and

aesthetic qualities of these animals. SLBI seeks to protect the natural and human resources in and

near the New Jersey coast, including but not limited to: the fish, marine mammals, and other

species that reside in, use, or migrate through the New York Bight Wind Energy Areas and the

related Wind Energy Areas directly south of the New York BightJersey WEAs; the seascape and

other aesthetic elements of Long Beach Island, the New York Bight, and the New York

BightJersey shore; the local economic interests that rely on the continued preservation of the

environmental features that make Long Beach Island and the waters of the New York Bight a

unique and desirable place to live and visit; and the cultural values that are tied to Long Beach

Island and the waters that surround it, including the New York Bight. and the ocean areas off the

coast of New Jersey. These natural and human resources are threatened by the BOEM’s massive,

offshore wind-OSW energy program and its component elements, including the wind arrays

planned for the five New York Bight Wind Energy Areas and other connected Wind Energy

Areas south of the Bight. Save Long Beach Island has approximately 900New Jersey coast. SLBI




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members who will be able to view the proposed wind farms from public and private vantage

points along the coast of Long Beach Island and other locations in New York and New Jersey.

Save Long Beach Island’sIn addition, SLBI members routinely engage in recreation in coastal

waters that would be affected by one or more offshore windOSW projects in the proposed New

York Bight and other connected Wind Energy AreasNew Jersey WEAs, including waters that

support marine mammals and turtles listed as endangered or threatened under the ESA. Such

recreation includes sailing, fishing, whale watching, and diving. Save Long Beach IslandSLBI

and its members have a legally protected interest in preserving the listed species that are native to

the waters off the coast of New York Bightand New Jersey and likely to be harmed by the

proposed offshore wind arrays. Save Long Beach IslandSLBI and its members also have an

interest in protecting the cultural and historical heritage of this part of the Atlantic seaboard, as

well as an interest in protecting the natural beauty of Long Beach Island, New Jersey—an 18-

mile-long barrier island with an unobstructed seascape. Save Long Beach IslandSLBI and its

members also own or patronize businesses that will be adversely affected by the environmental

degradation that will occur as a result of the proposed offshore wind projects inproposed off the

coast of New York Bightand New Jersey. Finally, some members of Save Long Beach rent their

properties to tourists and tenants so that they, too, can enjoy, recreate in, and use the natural

resources described above.

       6.16.   Plaintiff ROBERT STERN, Ph.D., is an individual who resides on Long Beach

Island. He formerly managed the Office of Environmental Compliance within the United States

Department of Energy. Dr. Stern is the President of Save Long Beach Island.SLBI. He considers

it his responsibility to protect those waters and all the plant and animal life within it. Dr. Stern

has particular concern over the impacts of operational turbine noise on endangered whales




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frequenting the area,; he has researched the subject, and provided specific technical

recommendations to BOEM regarding North Atlantic right whaleNARW migration through the

areas proposed for OSW projects, including those slated for development off the coast of New

York and New Jersey. Dr. Stern has concrete plans to observe NARW and other marine

mammals off the coast of New Jersey. Defendants’ industrial-scale OSW program, however,

threatens these animals, potentially foreclosing Dr. Stern’s ability to observe them in the Wind

Energy Areasfuture. As a resident of Long Beach Island, he routinely visits the beaches along the

island’s shores, where currently the vistas are unobstructed. This will change once offshore

windthe proposed New York Bight and New Jersey OSW projects are constructed in the Wind

Energy Areas selected by BOEM, as the wind turbines will be clearly visible from the Long

Beach Island shoreline. BOEM’s entire offshore wind program—including and especially the

wind arrays proposed for the New York Bight Wind Energy Areas and the Wind Energy Areas

directly south of the Bightand New Jersey coasts—threatens the very resources that make Long

Beach Island the unique place that Dr. Stern has chosen to call home. Dr. Stern is also deeply

committed to the historical and cultural heritage of Long Beach Island, which the proposed wind

energy projects are sure to damage. The failure of BOEM to comply with NEPA and the ESA

will degrade the natural and human environment on Long Beach Island and the waters proximate

to it, resulting in harm to Dr. Stern.

        7.17.   Defendant, the UNITED STATES DEPARTMENT OF THE INTERIOR, is an

agency of the federal government, which is authorized to grant a lease, easement, leases,

easements, and/or rightrights-of-way on the Outer Continental Shelf for activities that produce or

support production of energy from sources other than oil and gas, such as wind power.12



12
     43 U.S.C. § 1337(p)(1)(C).


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        8.18.    Defendant, DEB HAALAND, is the Secretary of the United States Department of

the Interior and, among other things, is charged with overseeing the management of the nation’s

Outer Continental Shelf lands and oceans, including those affected by the offshore windOSW

projects that will ultimately be developed within the five New York Bight Wind Energy Areas

described inand off the Area Identification Memorandumcoast of New Jersey. In this regard,

Secretary Haaland oversees BOEM and is ultimately responsible for the decisions taken by

BOEM. Further, Secretary Haaland is responsible for ensuring that all agencies within the

Department of the Interior, including BOEM, comply with NEPA, the ESA, and the ESAAPA.

In this action, Plaintiffs are suing Secretary Haaland in her official capacity as Secretary of the

Interior.

        9.19.    Defendant, UNITED STATES BUREAU OF OCEAN ENERGY

MANAGEMENT (BOEM) is an agency of the United States government within and under the

jurisdiction of the Department of the Interior. BOEM’s stated mission “is to manage

development of U.S. Outer Continental Shelf energy and mineral resources in an

environmentally and economically responsible way.”13 For purposes of this action, BOEM is the

federal agency responsible for implementing the U.S. government’s OSW energy program. More

specifically, BOEM is the federal agency that issues leases and permits for offshore windOSW

projects within the New York Bight Wind Energy Areasand New Jersey WEAs and elsewhere

along the Atlantic coast of the United States. More specifically, BOEM is the federal agency

which, on April 11, 2018, published a Call for Commercial Leasing for Wind Power on the

Outer Continental Shelf in the New York Bight, and on March 26, 2021, issued the New York



13
    U.S. Department of the Interior: Bureau of Ocean Energy Management, About Us (last
visited Jan. 5, 2022), available at https://www.boem.gov/about-boem.


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Bight Area Identification Memorandum (the “Area Identification Memorandum”) that

recommended five Wind Energy Areas for offshore wind projects in the New York Bight. The

five Wind Energy Areas identified in the memorandum are (1) the Fairways North Wind Energy

Area, (2) the Fairways South Wind Energy Area, (3) the Hudson North Wind Energy Area, (4)

the Central Bight Wind Energy Area, and (5) the Hudson South Wind Energy Area. BOEM is

also responsible for ensuring that its actions, including authorization of offshore windOSW

projects, comply with NEPA and the ESA. To this end, BOEM must prepare an environmental

impact statement (environmental impact statement) to assess and disclose whether and to what

extent “major a programmatic EIS when a federal actions”, such as the offshore wind

development program in the New York Bight, will adversely affect the natural and human plan

or program has the potential to cause cumulative and/or synergistic impacts on the environment.

that might otherwise escape analysis and disclosure if each project within the program were

studied individually. Here, BOEM has failed/refused to prepare a programmatic environmental

impact statementEIS that addresses the cumulative, connected, and synergistic impacts of

implementing offshore wind projects at the five New York Bight Wind Energy Areas described

in the Area Identification Memorandum.the OSW projects slated for the Atlantic coast. Nor has

BOEM prepared a programmatic EIS to evaluate the cumulative and synergistic effects of the

multiple projects proposed off the coasts of New York and New Jersey, despite their close

proximity to one another. In addition, Section 7 of the ESA requires that BOEM consult with the

National Marine Fisheries Service as toNMFS to determine whether and to what extent selection

of the Wind Energy Areas in questionWEAs, as well as the wind energyOSW projects such

selection will facilitateproposed within those WEAs, may affect federally listed species. HereIn

this case, however, BOEM failed to engage in consultation with the National Marine Fisheries




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Service.consult with NMFS regarding the OSW program for the Atlantic coast or any region

within it (e.g., New York/New Jersey).

        10.20. Defendant, AMANDA LEFTON, is the Director of BOEM. She issued the

decision challenged here, approving the five Wind Energy Areas. She is responsible for the

offshore wind projects that will ultimately be developed within the five New York Bight Wind

Energy Areas described in the Area Identification Memorandum. In this regard, Director

LeftonDefendant ELIZABETH KLEIN is the Director of BOEM. Director Klein oversees

BOEM and is responsible for the decisions taken by BOEM. In this action, Plaintiffs are suing

Director LeftonKlein in her official capacity as Director of BOEM.

                    STATUTORY AND REGULATORY FRAMEWORK

A.      The National Environmental Policy Act

        11.21. NEPA is the “basic national charter for protection of the environment.”14

        12.22. The purpose of NEPA is to “promote efforts which will prevent or eliminate

damage to the environment.”15 NEPA’s fundamental purpose is to guarantee that agencies take a

“hard look” at the environmental consequences of their actions before such actions occur. To

conduct a “hard look” the agency in question must (1) carefully consider detailed information

regarding the action’s potentially significant environment effects, and (2) make relevant

information available to the public so that it may play a role in both the decision-making process

and the implementation of the decision itself.16

        2.      An environmental assessment under NEPA is a “concise public document . . .

[that] provide[s] sufficient evidence and analysis for determining whether to prepare an



14
     Churchill Cnty. v. Norton, 276 F.3d 1060, 1072, (quoting 40 C.F.R. § 1500.1(a)).
15
     42. U.S.C. § 4321.
16
     See, e.g., 42 U.S.C. § 4332(2)(C); 40 C.F.R. § 1500.1.


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environmental impact statement or a finding of no significant environmental impact.”17 It is

designed to help public officials make decisions that are based on an understanding of the human

and physical environmental consequences of the proposed project and take actions, in the

location and design of the project, that protect, restore and enhance the environment.

          13.23. For any “major federal action” that “significantly affects” the “human

environment,” NEPA requires the federal agency in question (here, BOEM) to prepare a detailed

environmental impact statementEIS that analyzes and discloses the action’s environmental

consequences.18 If the agency does not conduct this analysis prior to the point of commitment,

the agency deprives itself of the ability to “foster excellent action.”19

          3.     Major federal actions include the “adoption of formal plans, such as official

documents prepared or approved by Federal agencies, which prescribe alternative uses of Federal

resources, upon which future agency actions will be based.”20 BOEM’s issuance of the “New

York Bight Area Identification Memorandum”, dated March 26, 2021, which adopted five Wind

Energy Areas in the New York Bight, totaling a combined 807,383 acres for future leasing

actions, meets those criteria and therefore constituted such a formal plan and a major federal

action.

          14.24. Relatedly, NEPA requires that an environmental impact statementEIS fully

analyze all direct, indirect, and cumulative impacts of a proposed federal action or project. Direct

effects include those “which are caused by the action and occur at the same time and place.”21




17
   40 C.F.R. § 1508.9.
18
    42 USC § 4332(c); Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989).
19
    See 40 CFR § 1500.1(c); Marsh v. Oregon Nat. Resources Council, 490 U.S. 360, 371
(1989).
20
   40 C.F.R. § 1508.1 (q)(3)(ii).
21
    40 CFR § 1508.8(a).


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Indirect effects include those “which are caused by the action and are later in time or farther

removed in distance, but are still reasonably foreseeable.”22 Indirect effects may also include

growth inducing impacts and other effects that prompt changes in land use patterns, population

density or growth rates, and related effects on air and water and other natural systems, including

ecosystems.23 Cumulative impacts include those which result from the incremental impact of the

action when added to other past, present, and reasonably foreseeable future actions regardless of

what agency (Federal or non-Federal) or person undertakes such other actions. Cumulative

impacts can result from individually minor but collectively significant actions taking place over

time.

        4.     NEPA requires that agencies ensure the professional integrity, including scientific

integrity, of the discussions and analyses in environmental documents. Impacts such as those to

endangered species cannot be dealt with piecemeal, project by project, and be scientifically

credible.

        15.25. The environmental impact statementThe EIS must provide a complete and

accurate discussion of the proposed project’s foreseeable environmental impacts, including those

that cannot be avoided.24 However, when information is incomplete or unavailable, the

environmental impact statement must “always make clear that such information is lacking.”25

And if the missing information can be feasibly obtained and is necessary for a “reasoned choice

among alternatives,”26 the agency must include the information in the environmental impact




22
     40 CFR § 1508(b).
23
     Id.
24
     5 USC § 706(2)(D); 40 CFR § 1502.22.
25
     40 CFR § 1502.22.
26
     Id.


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statement. Where the cost of the data is too expensive to secure, the agency must still attempt to

analyze the impacts in question.27

        16.26. The environmental impact statementThe EIS must provide an accurate

presentation of key facts and environmental impacts, as this is “necessary to ensure a well-

informed and reasoned decision, both of which are procedural requirements under NEPA.”28 An

environmental impact statementAn EIS that is incomplete or provides misleading information

can “impair[] the agency’s consideration of the adverse environmental effects and . . . skew . . .

the public’s evaluation of the proposed agency action.”29 For this reason, erroneous factual

assumptions and misrepresentations of important facts can fatally undermine the information

value of the environmental impact statementEIS to the public and decision-makers.30

        17.27. In addition, if the environmental impact statementEIS identifies a significant

effect, the environmental impact statement must propose and analyze “appropriate mitigation

measures.”31 Finally, the environmental impact statementEIS must examine a reasonable range

of alternatives to the proposed action and focus on those that reduce the identified impacts of that

action.32

        18.28. NEPA emphasizes the importance of coherent and comprehensive up-front

environmental analysis to ensure informed decision making and to guarantee “the [action]




27
   Id.
28
   Natural Resources Defense Council v. U.S. Forest Serv., 421 F.3d 797, 812 (9th Cir. 2005).
29
   Id. at 811.
30
   Id. at 808.
31
   40 CFR § 1502.14; see Robertson v. Methow Valley Citizens Council, 490 U.S. at 352-53
(“omission of a reasonably complete discussion of possible mitigation measures would
undermine the ‘action-forcing’ function of NEPA”).
32
   42 U.S.C. § 4332(2)(e); 40 CFR § 1502.1.


                                                16
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agency will not act on incomplete information, only to regret its decision after it is too late to

correct.”33

        19.29. NEPA regulations require that an environmental impact statement “[e]valuate

reasonable alternatives to the proposed action, and, for alternatives that the agency eliminated

from detailed study, briefly discuss the reasons for their elimination.”34 NEPA regulations also

state that the consideration of alternatives is “the heart of the environmental impact statement.”35

        20.30. NEPA requires that agencies evaluate in a single environmental impact

statementEIS proposals or parts of proposals that are related to each other closely enough to be,

in effect, a single course of action.

        5.      NEPA requires that a programmatic environmental impact statement be relevant

to the program decision and timed to coincide with meaningful points in agency planning and

decision-making.

        21.31. A federal program, such as BOEM’s offshore windOSW energy program in the

New York Bight and other connected Wind Energy Area’salong the Atlantic coast, constitutes a

“major federal action” and is defined as follows: “a group of concerted actions to implement a

specific policy or plan; systematic and connected agency decisions allocating agency resources

to implement a specific statutory program or executive directive.”36

        6.      A major federal action includes the “adoption of formal plans, such as official

documents prepared or approved by Federal agencies, which prescribe alternative uses of Federal

resources, upon which future agency actions will be based.”37 BOEM’s approval on March 26,



33
    Marsh v. Ore. Natural Resources Council, 490 U.S. 360, 371 (1989).
34
    40 C.F.R. § 1502.14(a).
35
    40 C.F.R. § 1502.
36
    40 C.F.R. § 1508.1(q)(3)(iii).
37
   40 C.F.R. § 1508.1(q)(3)(ii).


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2021 of the “New York Bight Area Identification Memorandum,” which adopted five Wind

Energy Areas in the New York Bight, totaling a combined 807,383 acres for future leasing

actions meets those criteria precisely, and thus constituted such a formal plan and a final federal

action that should have been preceded by a regional programmatic environmental impact

statement.

       32.     In some cases, NEPA requires that such a program – sometimes referred to as a

“broad action” – be evaluated in a programmatic EIS. See, for example, Kleppe v. Sierra Club,

427 U.S. 390, 400-01 (1976) (noting that a single EIS may be required “where several proposed

actions are pending at the same time”); see also Earth Island Ins. v. U.S. Forest Serv., 351 F.3d

1291, 1304-05 (9th Cir. 2003) (noting that a single EIS is required where there is one plan

governing the projects or the projects are connected, cumulative, or similar); see also Native

Ecosystems Council v. Dombeck, 304 F.3d 886, 893-94 (9th Cir. 2002) (“A single NEPA review

document is required when there is a single proposal governing the projects, or when the projects

are ‘connected’, ‘cumulative’, or ‘similar’ actions under the regulations implementing NEPA.”)

See also City of Tenakee Springs v. Clough, 915 F.2d 1308, 1312 (9th Cir. 1990) (“Where there

are large scale plans for regional development, NEPA requires both a programmatic and site-

specific EIS. This court has held that where several foreseeable similar projects in a geographical

region have a cumulative impact, they should be evaluated in a single EIS.”)


       22.33. Such “broad actions” can be evaluatedanalyzed in at least three ways:

               (1) Geographically, including actions occurring in the same general
               location, such as a body of water, region, or metropolitan area;
               (2) Generically, including actions which have relevant similarities, such as
               common timing, impacts, alternatives, methods of implementation, media,
               or subject matter;
               (3) By stage of technological development including federal or federally
               assisted research, development or demonstration programs for new



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               technologies which, if applied, could significantly affect the quality of the
               human environment.38

       23.34. NEPA does not allow an acting federal agency to “segment” the overall program,

as this would unreasonably restrict the scope of the environmental evaluation.39 Nor does NEPA

allow an agency to break up a “large or cumulative project into smaller components in order to

avoid designating the project as a major federal action.”40 Moreover, a “programmatic

environmental impact statement should be prepared if it can be forward-looking and if its

absence will obstruct environmental review.”41

       24.35. When there are multiple projects contemplated in a particular geographical

region, “NEPA calls for an examination of their impact in a single [environmental impact

statement].”42 And “[w]here there are large-scale plans for regional development, NEPA requires

both a programmatic and a site-specific [environmental impact statement].”43

       36.     In this case, BOEM’s large scale OSW program along the Atlantic coast

constitutes a singular effort to develop an offshore wind energy system, much like the system of

hydroelectric dams constructed along the Columbia River and its tributaries in the Pacific

Northwest. The various OSW projects are interconnected and integrated components of BOEM’s

offshore wind energy program. In addition, they are cumulative and similar in their purpose,

their construction, and their impacts on the environment. Thus, they need to be studied in a

single programmatic EIS.




38
   40 C.F.R. § 1502.4(c).
39
   Nat’l Wildlife Found’n v. Appalachian Reg’l Comm’n, 677 F.2d 883, 888 (D.C. Cir. 1981).
40
   Id. at 890.
41
   Found’n on Economic Trends v. Heckler, 756 F.2d 143, 159 (D.C. Cir. 1985).
42
   City of Tenakee Springs v. Clough, 915 F.2d 1308, 1312 (9th Cir. 1990).
43
   City of Tenakee Springs v. Block, 778 F.2d 1402, 1407; see also 40 C.F.R. §§ 1508.28,
1502.20.


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        25.37. Failure to prepare an environmental impact statementa programmatic EIS where

one is required is arbitrary and capricious and an abuse of federal agency discretion.

B.      The Endangered Species Act

        26.38. The ESA was enacted, in part, to provide a “means whereby the ecosystems upon

which endangered species and threatened species depend may be conserved . . . [and] a program

for the conservation of such endangered species and threatened species . . . .”44

        27.39. The ESA vests the Secretary of Commerce with primary responsibility for

administering and enforcing that statute with respect to marine and anadromous species. The

Secretary has delegated this responsibility to the National Marine Fisheries ServiceNMFS.45 The

National Oceanic Atmospheric Administration of the Department of Commerce, through the

National Marine Fisheries ServiceNMFS, is responsible for implementing the ESA with respect

to marine and anadromous species. The United States Fish and Wildlife Service is responsible

for implementing the ESA with respect to terrestrial and freshwater species.

        28.40. Section 2(c) of the ESA establishes that it is “the policy of Congress that all

Federal departments and agencies shall seek to conserve endangered species and threatened

species and shall utilize their authorities in furtherance of the purposes of this Act.”46 The ESA

defines “conservation” to mean “the use of all methods and procedures which are necessary to

bring any endangered species or threatened species to the point at which the measures provided

pursuant to this Act are no longer necessary.”47




44
     16 U.S.C. § 1531(b).
45
     50 C.F.R. § 402.01(b).
46
     16 U.S.C. § 1531(c)(1).
47
     16 U.S.C. § 1532(3).


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         29.41. Section 7(a)(1) of the ESA requires that all federal agencies “utilize their

authorities in furtherance of the purposes of this chapter by carrying out programs for the

conservation of endangered species . . . .”48 Section 7(a)(1) also directs that the National Marine

Fisheries ServiceNMFS (or, as the case may be, the Fish and Wildlife Service) to review other

programs administered by the Secretary and utilize such programs in furtherance of the purposes

of the Act.49

         30.42. In order to fulfill the substantive purposes of the ESA, federal agencies (such as

BOEM here) are required to engage in consultation with the National Marine Fisheries

ServiceNMFS to “insure that any action authorized, funded, or carried out by such agency . . . is

not likely to jeopardize the continued existence of any endangered species or threatened species

or result in the adverse modification of habitat of such species . . . determined . . . to be critical . .

. .”50

         31.43. Section 7 consultation is required for “any action [that] may affect listed species

or critical habitat.”51 Agency “action” is broadly defined in the ESA’s implementing regulations

to include “(a) actions intended to conserve listed species or their habitat; (b) the promulgation of

regulations; (c) the granting of licenses, contracts, leases, easements, rights-of-way, permits, or

grants-in-aid; or (d) actions directly or indirectly causing modifications to the land, water, or

air.”52 When engaging in Section 7 consultation, both the National Marine Fisheries




48
     16 U.S.C. § 1536(a)(1).
49
     16 U.S.C. § 1536(a)(1).
50
     16 U.S.C. § 1536(a)(2) (“Section 7 consultation”).
51
     50 C.F.R. § 402.14.
52
     50 C.F.R. § 402.02.


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ServiceNMFS and the “action agency” must “use the best scientific and commercial data

available.”53

       32.44. The National Marine Fisheries Service andNMFS and the Fish and Wildlife

Service follow a jointly prepared consultation handbook which states that a “may affect”

determination is:

       [T]he appropriate conclusion when a proposed action may pose any effects on
       listed species or designated critical habitat. When the Federal agency proposing
       the action determines that a “may affect” situation exists, then they must either
       initiate formal consultation or seek written concurrence from the Services that the
       action ‘is not likely to adversely affect’ listed species.54

       33.45. A “may affect” determination triggering formal consultation is required when

“[a]ny possible effect, whether beneficial, benign, adverse, or of an undetermined character”55

occurs. Further, when determining whether any such effects may occur, the National Marine

Fisheries ServiceNMFS (or the Fish and Wildlife Service) and the action agency must consider

not only the direct effects of the action, but also the “indirect effects”, which are defined as those

that are “caused by the proposed action and are later in time, but still are reasonably certain to

occur.”56

       34.46. Once an action agency makes a “may affect” determination, the agency may elect

to enter informal consultation with either the National Marine Fisheries Service orNMFS or the

Fish and Wildlife Service, depending on which Service has jurisdiction over the species in

question. The action agency then must complete a Biological Assessment (BA) and make one of




53
   16 U.S.C. § 1536(a)(2).
54
   Endangered Species Consultation Handbook: Procedures for Conducting Consultation and
Conference Activities Under Section 7 of the Endangered Species Act at xiv (hereafter “Joint
Consultation Handbook”) (emphasis in original).
55
   51 Fed. Reg. 19,926, 19,949 (June 3, 1986).
56
   50 C.F.R. § 402.02.


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two determinations – a “not likely to adversely affect” (NLAA) determination or a “likely to

adversely affect” (LAA) determination. If the action agency arrives at an LAA determination,

then formal consultation is required. Joint Consultation Handbook at 2-6. If the relevant Service

does not concur with the NLAA determination, or if the action agency elects to bypass the

informal consultation process and initiate formal consultation, then the relevant Service works

towards the completion of a biological opinionBiOp for the proposed action. If the National

Marine Fisheries ServiceNMFS issues a biological opinionBiOp that concludes the proposed

action is likely to jeopardize the species, the opinion may specify reasonable and prudent

alternatives that will avoid jeopardy and allow the agency to proceed with the action.57 The

National Marine Fisheries ServiceNMFS may also suggest modifications to the action during the

course of consultation to “avoid the likelihood of adverse effects”58 to the listed species even

when not necessary to avoid jeopardy.

        47.    Ultimately, however, it is the action agency – here, BOEM – that must accept and

implement the conditions set forth in the BiOp. Accordingly, the action agency is responsible for

ensuring the BiOp is legally adequate.

                                  FACTUAL BACKGROUND

A.      The New York Bight

        7.     The New York Bight is an offshore area that extends northeast from Cape May in

New Jersey to Montauk Point on the eastern tip of Long Island, New York. The New York Bight

supports a variety of uses and resources, including commercial fisheries and marine mammal

habitat. The Bight also contains the third largest port in the United States, which services more




57
     16 U.S.C. § 1536(b).
58
     50 C.F.R. § 402.13.


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than 8,500 deep-sea vessel transits per year. In the southern portion of the New York Bight lies

Long Beach Island, New Jersey, an 18-mile-long barrier island that is home to approximately

10,000 year-round residents. The island is also a popular tourist destination during the summer.

       8.      The New York Bight supports more than 35 marine mammal species, including

the listed sei whale, sperm whale, fin, and North Atlantic right whale; five sea turtle species,

including the listed green sea turtle, loggerhead sea turtle, Kemp’s ridley sea turtle, and

leatherback sea turtle; more than 50 bird species; and hundreds of fish species.

B.     BOEM’s Competitive Wind Lease Process for the New York Bight

       9.      BOEM’s competitive offshore wind lease process begins with the publication of a

Call for Information and Nominations, which seeks information regarding areas within the Outer

Continental Shelf that should receive special consideration for potential development of

renewable energy. In this case, BOEM, on April 11, 2018, published a Call for Commercial

Leasing for Wind power on the Outer Continental Shelf in the New York Bight. BOEM

delineated the Call Areas in consultation with various parties and government entities, including

the State of New York and the Intergovernmental Renewable Energy Task Force.

       10.     BOEM then spent the better part of three years deciding which areas within the

New York Bight should be selected as Wind Energy Areas. On March 26, 2021, BOEM issued

the “New York Bight Area Identification Memorandum,” which adopted five Wind Energy

Areas in the New York Bight, totaling a combined 807,383 acres. BOEM’s designation of these

Wind Energy Areas was a major federal action that triggered the agency’s NEPA obligation to

prepare an environmental assessment and, since the installation of hundreds or thousands of wind

turbines would have a significant effect on the human environment, to commence preparation of

an environmental impact statement.




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       11.     The five Wind Energy Areas are:

               (1) Fairways North—consisting of 88,246 acres, with a power production of
                   3,754,037 megawatt hours per year;
               (2) Fairways South—consisting of 23,841 acres, with a power production of
                   1,014,210 megawatt hours per year;
               (3) Hudson North—consisting of 43,056 acres, with a power production of
                   1,831,628 megawatt hours per year;
               (4) Central Bight—consisting of 84,688 acres, with a power production of
                   3,602,678 megawatt hours per year; and
               (5) Hudson South—consisting of 567,552 acres, with a power production of
                   24,143,998 megawatt hours per year.
       12.     The Fairways North and Fairways South Wind Energy Areas are located

approximately 15 miles from the New York shoreline and approximately 69 miles from the New

Jersey shoreline. The Hudson North Wind Energy Area is located approximately 21 miles from

the New York shoreline and approximately 36 miles from the New Jersey shoreline. The Central

Bight Wind Energy Area is located approximately 38 miles from the New York shoreline and

approximately 53 miles from the New Jersey shoreline. The Hudson South Wind Energy Area is

located approximately 45 miles from the New York shoreline and approximately 30 miles from

the New Jersey shoreline.

       13.     BOEM did not prepare an environmental impact statement or conduct any kind of

NEPA review prior to selecting the Wind Energy Areas and issuing the Area Identification

Memorandum. When it issued the Area Identification Memorandum and adopted the Wind

Energy Areas described therein, BOEM took a final agency action that effectively foreclosed

discussion or consideration of alternative Wind Energy Areas.

       14.     Now that the New York Bight Wind Energy Areas have been identified, BOEM

will initiate the lease issuance stage of the process. BOEM has indicated that, pursuant to NEPA,

it will prepare a “Lease Sale Environmental Assessment” to assess the potential environmental




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impacts associated with lease issuance. However, this belated attempt to comply with NEPA

comes too late in the process, well after BOEM has made a substantial commitment of resources

by designating the areas of the New York Bight that will be open for leasing and excluding other

areas where this activity might be far less environmentally damaging. Based on BOEM’s past

practice in the Rhode Island/Massachusetts Wind Energy Area, this environmental review will

be very limited and will not address the impacts of constructing and operating the actual wind

energy projects. Nor will this review consider alternative Wind Energy Area locations. Instead,

the only alternatives to be discussed in the proposed “Lease Sale Environmental Assessment”

will be survey and measurement alternatives within the identified Wind Energy Areas.

       15.     Once BOEM offers leases for sale within the five Wind Energy Areas, the

winning bidders will prepare and submit to BOEM draft Construction and Operations Plans for

the actual wind energy projects they intend to build.

       16.     For each proposed Construction and Operations Plan, BOEM will prepare a Draft

environmental impact statement that is designed to evaluate the environmental impacts of

constructing and operating the wind energy project in question. Pursuant to BOEM’s pattern and

practice, as established in its review of the Vineyard Wind 1 project in the Rhode

Island/Massachusetts Wind Energy Area, the Construction and Operations Plan-specific

environmental impact statements for the New York Bight Wind Energy Areas will not consider

alternatives that involve locations other than the Wind Energy Areas previously described in the

Area Identification Memorandum, dated March 26, 2021. Instead, each Construction and

Operations Plan-specific environmental impact statement will only consider limited project

alternatives that are located within the now-established Wind Energy Areas.




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       17.     Under existing procedures, after BOEM’s NEPA review is completed and other

required federal authorizations are secured, BOEM will issue a Record of Decision (ROD)

adopting the Final environmental impact statement. Soon thereafter, BOEM will approve the

Construction and Operations Plan. This process will be repeated for each Construction and

Operations Plan at each leasehold within the five New York Bight Wind Energy Areas.

However, there is no indication that BOEM will prepare an environmental impact statement that

covers all the Construction and Operations Plans collectively or analyzes their cumulative and

synergistic effects. And, even if BOEM did prepare a programmatic environmental impact

statement at this late date, it would be far too late to alter the commitments of resources BOEM

will have made by that time to the construction of hundreds or thousands of wind energy turbines

up and down the Atlantic coast—without ever considering their cumulative effects on the

environment or on listed endangered species.

       48.     BOEM has established more than 10 OSW wind energy areas (WEAs) along the

Atlantic coast. The WEAs define where the OSW leaseholds will be located. Once the WEAs are

established, no alternative WEA locations are considered. They become fixed. As a result, the

OSW lease areas also become fixed. BOEM does not, and will not, consider project alternatives

that involve placing the OSW facility outside the established lease areas or WEAs. In fact,

BOEM recently adopted an internal guidance document for preparing EISs for OSW projects,

and it expressly discourages consideration of alternatives that would move the proposed project

to a location outside its established leasehold or the established WEA.

       49.     At no time, however, has BOEM prepared a programmatic EIS or any other

NEPA document to analyze the impacts of selecting the WEAs in question. Nor has BOEM




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prepared a programmatic EIS or any other NEPA document to analyze the impacts of selecting

the leasehold locations within the WEAs.

       50.      Within the identified WEAs, BOEM has auctioned more than 23 OSW leases to

wind energy developers. BOEM has received from such developers at least 15 Construction and

Operations Plans (COPS), each providing details for the particular OSW project they intend to

build. BOEM conducted no NEPA review – programmatic or otherwise – of the lease sales, even

though such sales establish with metes and bounds where the OSW projects will be constructed

and operated.

       51.      BOEM has already approved two such projects – the Vineyard Wind 1 facility off

the coast of Massachusetts and the South Fork facility off the coast of Rhode Island. BOEM

adopted the Record of Decision (ROD) for the Vineyard Wind 1 project on May 10, 2021 and

the ROD for South Fork on November 24, 2021. BOEM prepared EISs for these projects, but

those EISs did not analyze how the projects, when considered in conjunction with the entire

OSW program for the Atlantic coast, will affect key environmental resources, including the

federally-listed and endangered NARW. Nor did the EISs consider any alternative that called for

moving the project to a location where its impacts – including impacts on NARW – would be

reduced.

       52.      BOEM has released Draft EISs for six other OSW projects: (1) Sunrise Wind in

the Rhode Island/Massachusetts WEA; (2) Revolution Wind in the Rhode Island/Massachusetts

WEA; (3) SouthCoast Wind off the coast of Massachusetts; (4) Ocean Wind off the coast of New

Jersey; (5) Empire Wind off the coast of New York; and (6) Commonwealth of Virginia

Offshore Wind (CVOW) off the coast of Virginia. None of these EISs evaluates the proposed

project’s cumulative impacts in a programmatic way that considers the entire OSW program for



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the Atlantic coast. In fact, the EISs do not even evaluate each respective project’s cumulative

impacts on a regional or WEA scale. As a result, the projects’ cumulative and synergistic impacts

on sensitive environmental resources, such as the NARW, have been left unstudied and

undisclosed. Further, none of the EISs considers alternative locations for the projects in question,

even though the data show that the current leaseholds overlap NARW habitat, including

migration corridors and foraging areas. The EISs also fail to consider alternatives that

contemplate changes in the number and power rating of the wind turbines themselves.

       53.     BOEM has issued Notices of Intent to prepare EISs for three additional projects:

(1) Atlantic Shores South off the coast of New Jersey; (2) U.S. Wind off the coast of Maryland;

and (3) Kitty Hawk North off the coast of North Carolina. There is no indication that the EISs for

these proposed OSW facilities will programmatically assess cumulative impacts on marine

mammals or other sensitive environmental resources. Nor is there any indication that these EISs

will consider alternative locations for the projects, even though they, like nearly all projects in

the Atlantic OSW program, overlap NARW habitat.

       54.     On July 15, 2022, BOEM issued a “Notice of Intent to Prepare a Programmatic

Environmental Impact Statement for Future Wind Development in the New York Bight.”

Purportedly, the proposed Programmatic EIS (PEIS) will cover six OSW leaseholds in the New

York Bight WEAs: OCS-A 0537; OCS-A 0538, OCS-A 0539; OCS-A 0541; OCS-A 0542, and

OCS-A 0544. Contrary to its title, however, the proposed document will not be a true

programmatic EIS. It is not designed to analyze the cumulative effects of the six New York

Bight windfarms contemplated on the leaseholds listed above. Instead, the proposed PEIS will

only assess “the impacts expected from a representative project in the New York Bight.” (See

87 Fed.Reg. 42495, 42496 (emphasis added.) BOEM will then use that assessment later to




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determine whether the other five projects will have impacts greater or less than the

“representative” case. (Id.) In other words, the so-called “PEIS” will study only one of the

proposed New York bight OSW projects, not all six. And it will likewise not address other OSW

projects planned off the New Jersey coast.

       55.     The best available scientific and commercial data show that many of the proposed

OSW facilities – including the projects proposed off the coasts of Massachusetts, New York,

New Jersey, and Virginia – will be located within or very near NARW feeding areas and

migration routes. Consequently, implementation of these projects will obstruct the movement of

NARW and interfere with foraging activities and other critical “life history” activities (e.g.,

calving) necessary to the survival and recovery of the species, whose total population continues

to decline and now rests at approximately 330 individuals.

       56.     These same OSW projects also intersect and interfere with the feeding and

movement behaviors of other federally-protected marine mammals, including the humpback

whale. Under the Marine Mammal Protection Act (MMPA), such animals may not be “taken”

without an incidental harassment authorization from the National Marine Fisheries Service

(NMFS).

       57.     In addition, NMFS has issued, and continues to process, incidental take

authorizations (ITAs) under the MMPA for various activities connected to the proposed OSW

projects along the Atlantic Coast. These activities include seabed characterization surveys that

involve the use of high-intensity sound pulses; cable laying along the seafloor; and pile-driving

for wind turbine installation. As indicated in the ITAs themselves, these activities “harass”

marine mammals, including the NARW, resulting in take of the species. Worse, the evidence

shows that the harassment permitted by the ITAs is cumulative and has the potential to be




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inflicted repeatedly on the same cohort of right whales. To date, NMFS has issued eleven (11)

ITAs for OSW-related activities off the coast of New York and New Jersey alone, with another

five (5) pending. For the Atlantic OSW program as a whole, NMFS has issued – or is poised to

issue – ITAs allowing for take of 915 NARW by Level B harassment noise (i.e., noise that will

cause avoidance behavior on the part of the whales). And there is evidence that the Level B

harassment caused by current and ongoing seabed characterization surveys could be contributing

to whale deaths along the New York and New Jersey shores and elsewhere along the Atlantic

coast. All of this permitting, and all of these activities and impacts, are taking place without

benefit of a programmatic EIS or programmatic BiOp.

                                     COUNT ONE:
                            VIOLATION OF NEPA AND THE APA

       35.58. Plaintiffs hereby incorporate by this reference each paragraph and allegation set

forth above.

       36.59. NEPA requires federal agencies, such as BOEM, to analyze the direct, indirect,

and cumulative impacts of the proposed actionOSW program for the Atlantic coast and to take a

hard look at those impacts. In addition, NEPA requires federal agenciesBOEM to consider

mitigation measures and alternatives that are capable of minimizing the environmental impacts

of a proposed actionthe Atlantic OSW program.

       37.60. NEPA compliance, which is intended to inform the agency decision-maker of the

environmental impacts of proposed actions, must occur before the agency has made a decision or

an irretrievable commitment of resources to a particular action. In designating large areas of the

New York Bight as available for wind energy development, Defendants failed to comply with

NEPA’s requirements to prepare an environmental assessment and where, as here, the project




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will significantly impact the quality of the human environment, take a hard look at those

environmental impacts by preparing an environmental impact statement.

       61.     As the facts discussed in this Complaint make clear, BOEM has committed itself

to an extensive program for installing thousands of wind turbines along the Atlantic coast. While

that program involves multiple steps and multiple OSW facilities, the program nevertheless

represents a singular course of action pursued by BOEM. The OSW projects proposed along the

Atlantic coast are connected, cumulative, and similar, and they are the manifestation of a clearly

articulated plan to develop offshore wind energy on an industrial scale. BOEM has established

an elaborate set of procedures for (i) identifying and selecting the WEAs; (ii) defining the

leaseholds within the WEAs that will be sold to developers; (iii) auctioning the wind leaseholds;

(iv) reviewing the Construction and Operations Plans for each proposed OSW project; and (v)

assisting project applicants navigate federal permitting requirements, including those that involve

NEPA review.

       38.62. NEPA prohibits a federal agency from segmenting into pieces an action that is

part of a single, connected program, as doing so often results in an underreporting (or non-

reporting) of the program’s cumulative impacts.

       39.63. Instead, NEPA requires the connected elements of a program to be assessed in a

single environmental impact statementEIS that covers the entire action being contemplated by

the federal agency in question. (See federal cases discussed in paragraph 32, supra, of this First

Amended Complaint.)

       18.     NEPA requires that BOEM evaluate in a single environmental impact statement

proposals or parts of proposals that are related to each other closely enough to be, in effect, a

single course of action.




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       40.64. NEPA requires that the federal agency prepare such a “programmatic”

environmental impact statement before committing itself to a particular course of action. This

allows the acting agency and the public to present and consider alternatives to the proposed

action – including “offsite” alternatives – while there is still time to change direction.

       19.     The designation of Wind Energy Areas constitutes a final agency action and is

perhaps the most environmentally critical decision that BOEM makes, as it commits large public

ocean areas to wind energy development versus other uses, and forecloses other areas, and

should have been supported by a regional programmatic environmental impact statement.

Further, the adoption of the Wind Energy Areas constitutes a major and final federal action

triggering BOEM’s legal obligation under NEPA and the APA to prepare a programmatic

environmental impact statement. As explained above, BOEM will eventually prepare project-

specific environmental impact statements for the individual wind projects in the New York Bight

region, but these will not consider or evaluate any alternative that calls for construction of the

project outside the boundaries of the Wind Energy Areas described and adopted in the Area

Identification Memorandum. Plaintiffs know this to be the case because BOEM recently

approved RODs for two offshore wind projects—Vineyard Wind 1 off the coast of Nantucket

and South Fork off the coast of Rhode Island—and in each case, the environmental impact

statement for the project in question included no alternative that contemplated construction of the

wind array at a location other than in the predetermined Wind Energy Areas. Therefore, as a

practical matter, the issuance of the Area Identification Memorandum permanently fixes the

future locations of the wind energy projects and thus constitutes a final agency action on the part

of BOEM. For this reason, NEPA requires that BOEM conduct a full environmental review of




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the proposed Wind Energy Areas at the Area Identification stage of the process. BOEM,

however, failed to accomplish this task, resulting in a violation of the statute.

       20.       BOEM has embarked on a large-scale campaign to develop offshore wind energy

projects along much of the U.S. Atlantic coast, from Massachusetts to South Carolina. BOEM’s

goal is to issue at least 17 wind energy leases covering thousands of square miles of near-shore

ocean. When fully developed, BOEM’s Atlantic wind energy system will include more than

2,000 wind turbines, many of them located in or near habitat and migration corridors used by

listed marine species, such as the North Atlantic right whale.

       21.       As part of its overall offshore wind energy program, BOEM has identified five

Wind Energy Areas for the New York Bight, just as it had previously identified a New Jersey

Wind Energy Area and Wind Energy Areas in the Rhode Island and Massachusetts Outer

Continental Shelf.

       22.       The New Jersey Wind Energy Area is in the New York Bight. It and the five

recent New York Bight Wind Energy Areas are connected actions under NEPA implementing

rule §1501.9(e)(1)(iii) because wind energy development in both areas is needed to meet New

Jersey’s offshore wind plan for 7500 megawatts of power to the State by 2035, which plan the

BOEM has been adhering to in its project proposals, and therefore are interdependent parts of a

larger action.

       23.       Significant new project circumstances and highly relevant new information

relevant to environment concerns has come to light since the New Jersey Wind Energy Area was

adopted. That includes the explosion in turbine size and attendant increase in turbine operational

noise that is expected to have a severe impact on several endangered whale species using the

area, thus requiring supplemental NEPA documentation.




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       24.    The five New York Bight Wind Energy Areas and the New Jersey Wind Energy

Area therefore comprise a connected and synergistic offshore wind energy system that is itself

part of BOEM’s larger offshore wind energy program for the Atlantic seaboard. Because these

Wind Energy Areas are part of a singular, connected system/program, will serve distinct electric

power markets, and are located within the same Outer Continental Shelf region and will be

developed into fully functioning wind arrays within the next three to six years, BOEM was

required to prepare a regional programmatic environmental impact statement that assesses all six

Wind Energy Areas at once, in combination with one another. By law, this programmatic

environmental impact statement should have been prepared prior to, and as part of, BOEM’s

decision to select the five recent New York Bight Wind Energy Area locations.

       65.    BOEM, however, failed to prepare the requisite programmatic environmental

impact statement for the Wind Energy Areas.BOEM has not prepared a programmatic EIS for its

Atlantic coast OSW program. Nor has it prepared a programmatic EIS for any region or WEA

within the Atlantic OSW program. BOEM has only prepared – and will only prepare – project-

specific EISs which, by definition, do not evaluate program-wide impacts to the environment. As

a result, the impacts of BOEM’s Atlantic coast OSW program – including and especially impacts

on NARW migration, feeding, and other life history events – have been and will remain

unstudied, undisclosed, and unaddressed through the adoption of mitigation measures or

alternatives. This is a violation of NEPA and the APA.

       66.    BOEM’s failure to prepare a programmatic EIS for the entire Atlantic OSW

program is inexcusable given that BOEM knows (i) the OSW WEAs and leaseholds are located

in and/or near NARW habitat; (ii) the construction and operation of the OSW projects will

adversely affect NARW; and (iii) the NARW population is already so low that additional human




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interference, such as that caused by industrial scale OSW projects, will drive the species toward

extinction.

       67.        In October 2022, BOEM and NOAA issued a draft document titled BOEM and

NOAA Fisheries North Atlantic Right Whale and Offshore Wind Strategy (the “NARW and OSW

Strategy”, which effectively admits that BOEM’s Atlantic OSW program, when viewed in its

entirety, has the potential to harm NARW and cause population scale impacts to the species. Key

statements from the NARW and OSW Strategy include the following:

              •   “In March 2021, in response to Executive Order 14008, Tackling the Climate

                  Crisis at Home and Abroad, the Departments of Interior, Energy, and Commerce

                  announced a national goal to deploy 30 gigawatts of OSW by 2030, while

                  protecting biodiversity and promoting ocean co-use.” (p. 1.)

              •   “BOEM and the National Oceanic and Atmospheric Administration’s (NOAA’s)

                  National Marine Fisheries Service (NOAA Fisheries) recognize [OSW]

                  development (from siting to decommissioning) must be undertaken responsibly

                  including managing and mitigating the impacts to endangered species like the

                  North Atlantic right whale. The NARW population is currently in decline, mainly

                  due to vessel strikes and entanglement in fishing gear, necessitating precaution to

                  ensure that OSW development is carried out in a way that minimizes the potential

                  for adverse effects to the species and the ecosystems on which it depends.” (p. 1.)

              •   “The agencies are working to understand the effects of OSW development on

                  NARWs and their ecosystem, and to develop strategies to mitigate and monitor

                  impacts to NARWs from OSW development.”




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  •   “BOEM and NOAA Fisheries initiated development of this shared draft North

      Atlantic Right Whale and Offshore Wind Strategy (hereinafter called “Strategy”)

      to focus and integrate past, present, and future efforts related to NARW and OSW

      development. In response to Executive Order 14008, both agencies share a

      common vision to protect and promote the recovery of North Atlantic right

      whales while responsibly developing offshore wind energy. This vision reflects

      the combined legislative mandates of the two agencies and commitment to the

      Administration’s goal of developing OSW while protecting biodiversity and

      promoting ocean co-use.” (pp. 1-2.)

  •   “As of September 2022, there were 27 renewable energy lease areas in the

      Atlantic Outer Continental Shelf (OCS) and there are 42 megawatts of installed

      OSW capacity. The OCS is the area of the continental shelf that begins at the edge

      of state marine boundaries (typically 3 nautical miles offshore except 9 miles for

      Texas and the west coast of Florida) and extends to 200 nautical miles, and more

      in some places.” (p. 3.)

  •   “Additional lease sales are expected to be held in the Gulf of Maine and the

      Central Atlantic. In total, the area in existing leases and being considered for

      leasing in planning areas in the Atlantic OCS covers 22.237 million acres (about

      8% of the Atlantic OCS). The OSW infrastructure currently proposed for

      installation by 2030 would be located on about 2.349 million acres, use fixed

      turbine technologies, and include 3,441 turbines and foundations and 9,874 miles

      of export and inter-array submarine cables.” (p. 3.)




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  •   “In addition, the Biden-Harris Administration has announced the goal of 15

      gigawatts of floating OSW capacity by 2035. These metrics of development will

      change over time; but for purposes of this Strategy, the metrics demonstrate the

      large-scale nature of the development planned and underway.” (p. 3.)

  •   “Due to the declining status of NARWs, the resilience of this population to

      stressors affecting their distribution, abundance, and reproductive potential is low.

      The species faces a high risk of extinction, and the population is small enough

      that the death of even some individuals can have a measurable effect on its

      population status, trend, and population dynamics. Further, the loss of even one

      individual a year may reduce the likelihood of recovery and the species achieving

      optimum sustainable population.” (pp. 6-7.)

  •   “NOAA Fisheries’ North Atlantic Right Whale Priority Action Plan for 2021-

      2025 identifies the need to improve our knowledge of factors that may limit

      NARW recovery, such as OSW development (NOAA Fisheries 2021).” (p. 7.)

  •   “NARWs engage in migration, foraging, socializing, reproductive, calving, and

      resting behaviors critical to their survival (Leiter et al. 2017; Muirhead et al.

      2018; Quintana-Rizzo et al. 2021; Zoidis et al 2021). The overlap begeween OSW

      development (planned, leased, and permitted) and NARW habitat extends to

      corridors outside the immediate development sites, where vessel traffic between

      ports and offshore sites would further overlap with the distribution of NARW.”

      (p. 7.)

  •   “Effects to NARWs could result from exposure to a single project and may be

      compounded by exposure to multiple projects. It is important to recognize that



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               NARW migrating along the U.S. Atlantic Coast travel through or nearby every

               proposed OSW development.” (p. 11 [Emphasis added].)

       68.     Despite these clear statements from the Whale and Wind Strategy, BOEM has not

prepared a programmatic EIS for the Atlantic OCS offshore wind energy program. Nor has

BOEM initiated consultation with NMFS over the impacts of the Atlantic OSW program on the

NARW.

       69.     The plaintiffs here, SLBI and Robert Stern, are headquartered on Long Beach

Island in New Jersey. Thus, they are most immediately affected by the multiple OSW facilities

proposed off the coasts of New York and New Jersey, many of which will be located in NARW

migration and feeding areas. BOEM did not prepare a programmatic EIS when it established the

WEAs for New York and New Jersey. Nor did BOEM prepare a programmatic EIS for the lease

auctions covering the now-fixed OSW leaseholds off the coasts of New York and New Jersey.

The proposed Programmatic EIS for the New York Bight is nothing of the sort, as it will analyze

only one “representative” OSW project. It will not consider all of the OSW projects slated for

the New York Bight or evaluate their cumulative impacts. The two draft EISs released for New

York and New Jersey OSW projects – Empire Wind and Ocean Wind – do not assess the

cumulative and/or synergistic impacts of all OSW projects proposed off the coasts of New York

and New Jersey. Consequently, these DEISs fail to provide the necessary programmatic analysis

NEPA requires.

       41.70. BOEM’s actions indicate that, absent a court order, it will not prepare the

requisite programmatic EIS for all or any portion of its Atlantic coast OSW program. Instead,

BOEM has decided it will prepare project-specific (or Construction and Operations Plan-

specific) environmental impact statementsEISs only, where the locations of the Wind Energy




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AreasWEAs, the leaseholds, and the projects themselves are fixed and not subject to debate.

These project-specific and Construction and Operations Plan-specific environmental impact

statementsEISs will not fully or adequately evaluate the cumulative impacts of all wind energy

projects contemplated within the Wind Energy Areas.WEAs or along the Atlantic coast as a

whole. Nor will these project-specific and Construction and Operations Plan-specific

environmental impact statementsEISs consider (a) alternative power levels within and among the

various Wind Energy Areas that collectively can meet the State’s power objective in a more

environmentally benign manner or (b) “offsite” alternatives, i.e., alternatives at locations outside

the boundaries of the previously adopted Wind Energy Areas.

       42.71. By failing to prepare an environmental assessmenta programmatic EIS for all or

any portion of its extensive and an environmental impact statement prior to designating areas of

the New York Bight for wind energy productioninterconnected Atlantic coast OSW program,

BOEM has taken final agency action that is arbitrary, capricious, acted arbitrarily and

capriciously, resulting in an abuse of discretion, and otherwise not in accordance with the law

because it fails to comply with NEPA.. Accordingly, BOEM’s final agency action violates the

Administrative Procedure Act and must be vacated and set aside.BOEM cannot lawfully

continue processing OSW projects until such time that it prepares a programmatic EISs as

requested herein.

                                      COUNT TWO:
                                  VIOLATION OF THE ESA

       43.72. Plaintiffs hereby incorporate by this reference each paragraph and allegation set

forth above.




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       44.73. Consultation under Section 7 of the ESA is required whenever a discretionary

agency action “may affect” any listed species or its critical habitat, and the assessment of

whether that low threshold has been satisfied must be based on the “best available” science.

       25.     BOEM violated Section 7 of the ESA by failing to consult with the National

Marine Fisheries ServiceNMFS regarding whether and to what extent the selection of the New

York Bight Wind Energy Areas and the Wind Energy Areas directly south of the Bight, in

facilitating construction and operation of wind energy arrays, could affect North the potential

cumulative impacts of BOEM’s Atlantic right whales and other listed species. Such effectscoast

OSW program on listed species, including the NARW. Such impacts will likely occur, given that

most of the proposed OSW projects will be located within or very near NARW migration

corridors and foraging areas. These impacts include, but are not limited to, noise-induced

physical damage; noise-induced behavioral changes and related sublethal impacts; vessel

collisions; fishing gear entanglement; loss of foraging opportunities; and alteration of key life

history stages and elements.

       26.     The best available science indicates that BOEM’s selection of the New York

Bight Wind Energy Areas and those Wind Energy Areas directly south of the Bight (1) will lock

BOEM into these particular locations Consequently, the projects, when approving offshore wind

energy projects for this part of the eastern seaboard and (2) “may affect” listed species, including

the North Atlantic right whale.

       27.     BOEM’S designation of five Wind Energy Areas within the New York Bight,

without any consideration of the possible effects the program mightconsidered in a cumulative

and programmatic way, have on listed endangered species like the North Atlantic right whale,




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acted arbitrarily, capriciously, and contrary to the mandates of law, including the ESA and

Marine Mammal Protection Act.59

         74.    BOEM’s adoption of the designated Wind Energy Areas whilethe potentially to

jeopardize the species. Yet, this potential for jeopardy has not been analyzed in a programmatic

Biological Opinion (BiOp). The fault for this failing to consultlies with the National Marine

Fisheries Service,BOEM, which is legally required to initiate consultation with NMFS for

purposes of ensuring that a programmatic BiOp is prepared.

         45.75. BOEM’s failure to initiate consultation with NMFS as herein described above,

wasis arbitrary, capricious, an abuse of discretion, and violates the ESA and its implementing

regulations.

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that this Court:

         (1)    Enter an order reversingrequiring BOEM to prepare a programmatic EIS

addressing the cumulative and setting aside BOEM’s March 26, 2021 Decision designating the

five Wind Energy Areas within the New York Bightsynergistic impacts of its entire Atlantic

coast OSW program, as arbitrary, capricious, and contrary to law, includingrequired by NEPA,;

         (1)(2) Enter an order requiring BOEM to initiate consultation with NMFS under Section

7 of the ESA, to determine whether and to what extent BOEM’s Atlantic coast OSW program

will jeopardize NARW and Marine Mammal Protection Actother listed species;

         (3)    Enter an order enjoining BOEM from processing or approving any additional

OSW projects, or any activities connected to such projects (e.g., seabed characterization

surveys), until the required programmatic EIS and programmatic BiOp are issued and adopted.



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     16 U.S.C. §§ 1361-1423h.


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       (2)(4) Award Plaintiffs reasonable attorneys’ fees and costs under the Equal Access to

Justice Act; and

       (3)(5) Provide such other and further relief as the Court may deem just.


 Dated: JanuaryApril 10, 20222023                                                 Respectfully

                                          submitted,

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